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    7KH+RQRUDEOH&DWK\6HLEHO86'-
    8QLWHG6WDWHV'LVWULFW&RXUW
    6RXWKHUQ'LVWULFWRI1HZ<RUN
    4XDUURSDV6WUHHW
    :KLWH3ODLQV1<
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    5H   D.P. v. JUUL Labs Inc.1RFY &6 

    'HDU-XGJH6HLEHO
    $VFRXQVHOIRU'HIHQGDQW-88//DEV,QFLQWKHDERYHHQXPHUDWHGFDVH,ZULWHWRUHVSHFWIXOO\
    UHTXHVWSXUVXDQWWR5XOH'RI<RXU+RQRU¶V,QGLYLGXDO5XOHV3UDFWLFHRUDODUJXPHQWRQRXU
    PRWLRQWRGLVPLVVWKH$PHQGHG&RPSODLQWILOHGE\3ODLQWLII'3
    :HDSSUHFLDWH<RXU+RQRU¶VFRQVLGHUDWLRQRIWKLVUHTXHVW
    

    5HVSHFWIXOO\VXEPLWWHG                      


    /s/ Joseph Evall

    -RVHSK(YDOO

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    FF$OO&RXQVHORI5HFRUG YLD(&) 
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